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                                      ATTACHMENT A
                               Statement of Facts: Krystal Proctor

        The United States and the Defendant stipulate and agree that i f this case proceeded to trial,
the United States would prove the facts set forth below beyond a reasonable doubt. They further
stipulate and agree that these are not all of the facts that the United States would prove if this case
proceeded to trial.

        Between at least in or about 2011 and continuing through at least in or about April 2013,
in the District of Maryland and elsewhere, the Defendant, Krystal Proctor ("PROCTOR"),
knowingly conspired, combined, confederated, and agreed with others to commit the offense of
theft of public money.

        During the course of this conspiracy, certain co-conspirators filed false federal income tax
returns with the Internal Revenue Service (the "IRS") in the names of more than 10 individuals
(each a "VICTIM," and collectively the "VICTIMS"), for the purpose of obtaining tax refunds to
which those VICTIMS were not entitled. The fraudulent returns were filed using stolen names
and Social Security Numbers of the VICTIMS. Each fraudulent return identified a VICTIM as the
purported taxpayer, but then listed an address that was not, in fact, controlled by the VICTIM, and
was instead controlled by a co-conspirator. Each fraudulent return made false claims about the
VICTIM at issue, such as claiming that a VICTIM operated a Schedule C business and had income
sufficient to generate a tax refund based on the Earned Income Tax Credit. Such returns also
falsely claimed that VICTIMS had certain dependents who were not, in fact, their dependents. As
a result of the false returns being filed, the IRS issued tax refunds in the form of U.S. Treasury
checks made out to the VICTIMS, and then the IRS mailed those checks to the addresses listed on
the returns.

       PROCTOR's chief role in this conspiracy was to help negotiate (i.e., cash) these
fraudulently-obtained U.S. Treasury checks. She did this in two main ways.

        First, from in or about 2011 through in or about May 2012, PROCTOR worked as a teller
at a check cashing business located in Clinton, Maryland (the "BUSINESS"), and during that
period used her position to negotiate fraudulently-obtained refund checks generated as part of the
conspiracy. To conceal her criminal actions from the BUSINESS, PROCTOR entered false
information in the BUSINESS's database, including processing fraudulently-obtained checks
under the names and addresses of existing BUSINESS customers, rather than under the names of
the checks' payees. For similar reasons, PROCTOR did not save images of the fraudulently-
obtained checks in the BUSINESS's database, even though the BUSINESS required tellers to save
images of all checks negotiated. As an example, on or about May 22, 2012, at the BUSINESS,
PROCTOR negotiated a U.S. Treasury check in the amount of $4,480.49, which was an income
tax refund made payable to Individual 1 and mailed to a Washington, D.C. address, based upon a
false 2010 income tax return filed with the IRS in Individual l's name.

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         Second, PROCTOR recruited another of the BUSINESS's tellers to join the conspiracy
("Co-Conspirator A"), and helped to coordinate that teller's negotiation of fraudulently-obtained
checks. PROCTOR recruited Co-Conspirator A into the conspiracy in or around June 2012, when
PROCTOR stopped working at the BUSINESS. After speaking with other members of the
conspiracy, PROCTOR would contact Co-Conspirator A, usually by cell phone, and tell him/her
other co-conspirators would be bringing fraudulently-obtained refund checks to the BUSINESS.
PROCTOR directed Co-Conspirator A to negotiate those checks, and Co-Conspirator A did so.
In addition, as instructed by PROCTOR, Co-Conspirator A took steps to conceal the conspiracy
from the BUSINESS, including (i) processing fraudulently-obtained checks under the names and
addresses of existing BUSINESS customers rather than names of the checks' payees, and
(ii) deliberately failing to save images of the fraudulently-obtained checks. After Co-Conspirator
A cashed such checks, PROCTOR would meet with and pay Co-Conspirator A for his/her work
on behalf of the conspiracy.

         Examples of the actions undertaken by PROCTOR and Co-Conspirator A in furtherance
of this conspiracy include the following:

   •   On or about July 5, 2012, at the BUSINESS, Co-Conspirator A negotiated a U.S. Treasury
       check in the amount of $2,883.04, which was an income tax refund payable to a misspelled
       version of Individual 2's name and mailed to a Washington, D.C. address, based upon a
       false 2008 income tax return filed in Individual 2's name.

   •   On or about April 3, 2013, in Temple Hills, Maryland, PROCTOR paid Co-Conspirator
       A for negotiating fraudulently-obtained tax refund checks at the BUSINESS.

   •   On or about April 5, 2013, at the BUSINESS, Co-Conspirator A negotiated a U.S. Treasury
       check in the amount of $2,509.03, which was an income tax refund payable to Individual
       3 and mailed to a Clinton, Maryland address, based upon a false 2009 income tax return
       filed in Individual 3's name.

   •   On or about April 8, 2013, at the BUSINESS, PROCTOR paid Co-Conspirator A for
       negotiating fraudulently-obtained checks at the BUSINESS.

   •   On or about April 11, 2013, in Temple Hills, Maryland, PROCTOR paid Co-Conspirator
       A for negotiating fraudulently-obtained checks at the BUSINESS.

   •   On or about April 12, 2013, at the BUSINESS, Co-Conspirator A negotiated a U.S.
       Treasury check in the amount of $4,894, which was an income tax refund payable to
       Individual 3 and mailed to a Clinton, Maryland address, based upon a false 2011 income
       tax return filed in Individual 3's name.


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   •   On or about April 14, 2013, in Temple Hills, Maryland, PROCTOR paid Co-Conspirator
       A for negotiating fraudulently-obtained checks at the BUSINESS.

       Between in or about 2011 through in or about April 2013, PROCTOR and Co-Conspirator
A negotiated more than 100 fraudulently-obtained Treasury checks as part of the conspiracy
described herein, with those checks totaling $566,261.98 in U.S. currency.

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       I have read this Statement of Facts and carefully reviewed every part of it with my attorney.
I acknowledge that it is true and correct.



Date
                                           4-     stal Proctor

       I am Krystal Proctor's attorney. I have carefully reviewed every part of this Statement of
Facts with her. To my knowledge, her decision to sign it is an informed and voluntary one.


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